                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE DIVISION


 WILLIAM ANTHONY, et al.,                           )
                                                    )   No.: 3:22-CV-000416
         Plaintiffs,                                )
                                                    )   Judge Charles E. Atchley, Jr.
 v.                                                 )   Magistrate Judge Jill E. McCook
                                                    )
 BARRY VAN OVER, et al.,                            )   JURY DEMAND
                                                    )
         Defendants.                                )
                                                    )


      MOTION OF DEFENDANTS MYLES BAKER, PREMIER FRANCHISING GROUP,
        LLC d/b/a/PREMIER MARTIAL ARTS, AND UNLEASHED BRANDS FOR
                ADDITIONAL TIME TO FILE RESPONSIVE PLEADING


         Comes now Defendants Myles Baker; Premier Franchising Group, LLC d/b/a Premier

 Martial Arts; and Unleashed Brands, LLC and respectfully move this Court for an additional

 amount of time, up to and including January 31, 2023, by which to file their responsive pleadings

 in this case. With the upcoming holidays, this additional amount of time is needed to effectively

 respond to the Complaint, which is 570 paragraphs and 116 pages long.

         Further, pursuant to the applicable Local Rules of Court, this counsel has discussed this

 matter with counsel for Plaintiffs, and there is no objection to this requested relief.

         Thus, these Defendants would request that they be provided with additional time to

 respond to the Complaint in this case up to and including January 31, 2023.




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                                    Respectfully submitted,

                                    DLA Piper LLP


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                                     Attorneys for Myles Baker; Premier Franchising
                                     Group, LLC d/b/a Premier Martial Arts; and
                                     Unleashed Brands, LLC




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this the 15th day of December, 2022, a copy of the foregoing
 MOTION FOR ADDITIONAL TIME TO FILE RESPONSIVE PLEADING was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

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